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 5
     ATTORNEY FOR DEFENDANT
 6   CHARLES ALEXANDER
 7
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                        EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,              )       CR. NO. S-12-00221–MCE
                                            )
11         PLAINTIFF,                       )       STIPULATION AND
                                            )       ORDER CONTINUING THE CASE
12         v.                               )       TO THURSDAY, MAY 30, 2013
                                            )
13   CHARLES ALEXANDER, et al.,             )
                                            )
14                                          )
          DEFENDANTS.                       )
15   ______________________________)
16         The parties to this litigation, the Unites States of America, represented by
17   Assistant United States Attorney, Mr. Daniel S. McConkie, Jr., and defendant,
18   Jusstanene King, represented by attorney Mr. Michael B. Bigelow and defendant,
19   Charles Alexander, represented by attorney, Mr. James R. Greiner, hereby agree and
20   stipulate that a status conference can be set for Thursday, May 30, 2013, at 9:00 a.m.
21   in Courtroom #7, on the 14th Floor, before the Honorable Chief United States District
22   Court, Judge Morrison C. England, Jr..
23         The Court’s courtroom deputy, Ms. Stephanie Deutsch, was contacted to ensure
24   the Court was available and the Court is available on Thursday, May 30, 2013.
25         Further, all of the parties, the United States of America and both defendants
26   agree and stipulate that time under the Speedy Trial Act can be excluded under Title
27   18 section 3161(h)(7)(B)(iv), corresponding Local Code T-4, which corresponds to
28   Title 18 section 3161(h)(7)(A) (to allow counsel time to prepare) from Thursday,
                                                1
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 1   August 30, 2012 to through and including, Thursday, May 30, 2013, due to time
 2   needed by both defense attorneys for preparation, review of discovery, review of
 3   discovery with their respective clients, legal research including but not limited to the
 4   advisory sentencing guidelines and conferences with their respective clients..
 5                                 STATUS OF DISCOVERY
 6         Discovery has been provided by the government in this case which includes,
 7   among other items, reports and statements. The time requested, in exercising due
 8   diligence, is reasonably necessary to allow defense counsel time to review the
 9   discovery and meet and confer with the client about both the facts of the case and the
10   discovery.
11         In addition, the case could potentially have complex legal issues regarding the
12   Advisory Sentencing Guidelines, including but not limited to the criminal history of
13   the defendants, which needs to have investigation done, legal research done and
14   discussions with the client so that the client is fully informed on the potential issues
15   regarding the potential issues regarding the Advisory Sentencing Guidelines. In as
16   much as the potential Advisory Sentencing Guideline issues are complex regarding
17   the criminal history, in the exercise of reasonable diligence by counsel, the time
18   requested is reasonable in this case.
19             EXCLUSION OF TIME UNDER THE SPEEDY TRIAL ACT
20         The parties agree and stipulate that the need for defense counsel to review the
21   discovery in this case and to meet and confer with the client regarding the discovery
22   and the facts of this case and the potential complex issues regarding the Advisory
23   Sentencing Guidelines, the interests of justice in granting this reasonable request for a
24   continuance outweighs both the public’s right to a speedy trial and each defendant’s
25   individual right and the defendant’s joint right to a speedy trial in this case, pursuant
26   to Title 18 section 3161(h)(7)(B)(iv), corresponding to Local Code T-4, which
27   corresponds to Title 18 section 3161(h)(7)(A) (to allow counsel time to prepare) from
28   Thursday, August 30, 2012 to through and including Thursday, May 30, 2013.
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 1         The respective parties have authorized James R. Greiner to sign this stipulation.
 2
 3
 4                                     Respectfully submitted,
                                       BENJAMIN WAGNER
 5                                     UNITED STATES ATTORNEY
 6                                     /s/ JASON HITT signing for Daniel McConkie,
     DATED: 4-26-13                    _____________________________________
 7
                                       Daniel S. McConkie, Jr.
 8                                     ASSISTANT UNITED STATES ATTORNEY
                                       ATTORNEY FOR THE PLAINTIFF
 9
10   DATED: 4-26-13                    /s/ Michael B. Bigelow
11                                     ______________________________________
12                                     Michael B. Bigelow
                                       Attorney for defendant
13                                     Jusstanene King
14
     DATED: 4-26-13                    /s/ James R. Greiner
15                                     ___________________________________
                                       James R. Greiner
16                                     Attorney for Defendant
                                       Charles Alexander
17
18                                            ORDER
19         Based upon the representations of counsel, the record in this case, and the
20   agreements and stipulations between all counsel in the case, the Court makes the
21   following findings:
22         The Court finds that the ends of justice in this case in granting this continuance
23   outweigh both the public’s right and each defendant’s individual right and the
24   defendant’s joint right to a speedy trial in this case;
25         The Court finds that the record in this case and the case itself supports a finding
26   that time shall be excluded under local code T-4, which corresponds to Title 18
27   section 3161(h)(7)(A) , time is to be excluded for the reasonable time necessary for
28   effective preparation by defense counsel and Title 18 U.S.C. section
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 1   3161(h)(7)(B)(iv) and section 3161(h)(7)(A), of the speedy trial act. Counsel for all
 2   parties stipulate that the ends of justice are served by the Court excluding such time,
 3   so that counsel for the defendant may have reasonable time necessary for effective
 4   preparation, for reviewing the discovery in this case, for discussing with the respective
 5   clients the discovery and the facts of the case, and for the investigation and legal
 6   research needed to be done on the potential complex issues regarding the Advisory
 7   Sentencing Guidelines regarding any potential sentence, including but not limited to
 8   the criminal history of the defendants, taking into account the exercise of due
 9   diligence, 18U.S.C. section 3161(h)(7)(B)(iv), and therefore time should be excluded
10   under 18 U.S.C. section 3161(h)(7)(B)(iv) and Local Code T-4, which corresponds to
11   Title 18 section 3161(h)(7)(A).
12         The Court sets a Status Conference for Thursday, May 30, 2013, with time
13   excluded under the Speedy Trial Act from Thursday, August 30, 2012, through to
14   and including Thursday, May 30, 2013, for the reasons agreed to and stipulated by
15   the parties and as stated herein.
16
17         IT IS SO ORDERED.
18   Date: May 16, 2013
19   _____________________________________
20                                           ___________________________________________
                                             MORRISON C. ENGLAND, JR., CHIEF JUDGE
21                                           UNITED STATES DISTRICT COURT
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